Case 3:14-cV-00914-T.]C-I\/|CR Document 34 Filed 04/30/15 Page 1 of 1 Page|D 1270

IN TI-IE UNITED STATES DISTRICT COURT
IN AND FOR TI-IE MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
KACY SOKOLSKY,
Plaintiff,
-VS-
TARGET CORPORATION,
CASE NO.: 3114-CV-914-J-32 -MCR
Defendant

/

 

NOTICE OF PENDING SETTLEMENT
PLEASE TAKE NOTICE that the parties have reached an agreement for settlement, and are

in the process of finalizing the settlement agreement

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on _B_O:‘April, 2015, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to
the following CM/ECF participants Brian Melendez, Dykema Gossett, PLLC, 4000 Wells F argo
Center 90 South Seventh Street, Minneapolis, MN 55402; Sherilee J. Samuel, Esq., Hill, Ward

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